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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 08-81443-CV-HURLEY/HOPKINS


  SCS ALEXANDRE ET CIE d/b/a
  PRETTY YOU MONACO,
  a foreign corporation,

                        Plaintiff,

  vs.

  LANA MARKS LTD, INC.,
  a Florida Corporation,

                    Defendant.
  ________________________________________/


        JOINT MOTION FOR ENTRY OF ORDER OF DISMISSAL WITH PREJUDICE

          Plaintiff SCS ALEXANDRE ET CIE d/b/a PRETTY YOU MONACO (“Pretty You”)

  and Defendant LANA MARKS LTD., INC. (“LM”) by and through undersigned counsel hereby

  move the Court to enter the attached Order of Dismissal with Prejudice.



By: /s Phillip Dube                          By: /s John C. Dotterrer
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                          CERTIFICATE OF SERVICE AND FILING

         I hereby certify that on March 15, 2010, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. A true and correct copy of the foregoing will be

  served on: Phillip Dube, Esq., Becker & Poliakoff, P.A., 3111 Stirling Road, Ft. Lauderdale, FL

  33312-6525, by transmission of Notices of Electronic Filing generated by CM/ECF to:

  pdube@becker-poliakoff.com.


                                                      By: /s John C. Dotterrer
                                                          John C. Dotterrer
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